                     UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

 SHANE BUCHANS, individually and on )
 behalf of all others similarly situated,
                                    )             C.A. No. 1:17-cv-263-TSE-JFA
                                    )
                  Plaintiff,        )
                                    )
              v.                    )
                                    )
 CEB, INC., THOMAS L. MONAHAN, III, )
 GREGOR S. BAILAR, STEPHEN M.       )
 CARTER, GORDON J. COBURN,          )
 KATHLEEN A. CORBET, L. KEVIN       )
 COX, DANIEL O. LEEMON, STACEY S. )
 RAUCH, JEFFREY R. TARR, and        )
 GARTNER, INC.,                     )
                                    )
                   Defendants.      )
                                    )

      STIPULATION AND [PROPOSED] ORDER CONCERNING PLAINTIFF’S
    VOLUNTARY DISMISSAL OF THE ABOVE ACTION WITH PREJUDICE AND
   PLAINTIFF’S COUNSEL’S ANTICIPATED APPLICATION FOR AN AWARD OF
                   ATTORNEYS’ FEES AND EXPENSES

       WHEREAS, on January 5, 2017, CEB, Inc. (“CEB” or the “Company”) and Gartner, Inc.

(“Gartner”) announced that they had entered into an Agreement and Plan of Merger pursuant to

which Gartner would acquire all of the outstanding shares of CEB in exchange for $54.00 in cash

and 0.2284 shares of Gartner common stock per CEB share (the “Proposed Transaction”);

       WHEREAS, on February 6, 2017, Gartner filed a Form S-4 Registration Statement (the

“Registration Statement”) with the SEC. Among other things, the Registration Statement (i)

summarized the Merger Agreement, (ii) provided an account of the events leading up to the

execution of the Merger Agreement, (iii) stated that the CEB’s Board of Directors determined that

the Proposed Transaction was in the best interests of CEB’s stockholders and recommended the
Proposed Transaction, and (iv) summarized the valuation analyses and fairness opinion by the

financial advisor to CEB;

       WHEREAS, on March 7, 2017, CEB filed its Definitive Proxy Statement (the “Proxy

Statement”) with the SEC in support of the above Proposed Transaction;

       WHEREAS, on March 7, 2017, plaintiff Shane BuChans (“Plaintiff BuChans”) filed a

purported class action lawsuit in the United States District Court for the Eastern District of

Virginia, on behalf of himself and other public stockholders of CEB, challenging the adequacy of

the disclosures made in the Registration Statement and Proxy Statement, captioned: BuChans v.

CEB, Inc., et al., Case No. 17-cv-263 (the “Action”);

       WHEREAS, the Complaint alleged, among other things, that Defendants CEB, Inc.,

Thomas L. Monahan, III, Gregor S. Bailar, Stephen M. Carter, Gordon J. Coburn, Kathleen A.

Corbet, L. Kevin Cox, Daniel O. Leemon, Stacey S. Rauch, Jeffrey R. Tarr, and Gartner, Inc.

(collectively, the “Defendants”) committed disclosure violations under Sections 14(a) and 20(a)

of the Securities and Exchange Act of 1934 (the “Exchange Act”), and Rule 14a-9 promulgated

thereunder;

       WHEREAS, counsel for the parties engaged in arm’s-length negotiations to attempt to

resolve the claims raised in the Complaint;

       WHEREAS, on March 22, 2017, the parties agreed on a draft of supplemental disclosures

related to the Proposed Transaction (the “Supplemental Disclosures”), which Plaintiff believes

address and moot his claims regarding the sufficiency of the disclosures in the Proxy Statement;

       WHEREAS, Defendants filed a supplement to the Proxy Statement that included the

Supplemental Disclosures on March 24, 2017;




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       WHEREAS, on April 4, 2017, the CEB stockholders met and voted to approve the

Proposed Transaction;

       WHEREAS, Plaintiff’s Counsel believes they may assert a claim for a fee in connection

with the prosecution of the Action and the issuance of the Supplemental Disclosures, and have

informed Defendants of their intention to petition the Court for such a fee if their claim cannot be

resolved through negotiations between counsel for Plaintiff and Defendants (the “Fee

Application”);

       WHEREAS, all of the Defendants in the Action reserve all rights, arguments and defenses,

including the right to oppose any potential Fee Application;

       WHEREAS, no class has been certified in the Action;

       WHEREAS, for the avoidance of doubt, no compensation in any form has passed directly

or indirectly to Plaintiff or her attorneys, and no promise, understanding, or agreement to give any

such compensation has been made, nor have the parties had any discussions concerning the amount

of any mootness fee application or award; and

       WHEREAS, Defendants have denied and continue to deny any wrongdoing and contend

that no claim asserted in the Action was ever meritorious.

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

attorneys for the respective parties:

       1.        Plaintiff hereby voluntarily dismisses the Action pursuant to Fed. R. Civ. P.

41(a)(1), and all claims asserted therein are dismissed with prejudice as to Plaintiff only. All

claims on behalf of the putative class are dismissed without prejudice;




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       2.      This Court retains jurisdiction over the Action solely for purpose of any potential

further proceedings related to Plaintiff’s Counsel’s Fee Application, if such Fee Application

becomes necessary;

       3.      This Stipulation is not intended to, and shall not, waive or prejudice any right or

argument that may be asserted or presented by Plaintiff or Defendants in support of or in opposition

to any claim by Plaintiff for attorneys’ fees and expenses.

       IT IS SO STIPULATED

Respectfully submitted this 4th day of April, 2017

 By: s/ Elizabeth K. Tripodi________             /s/ Robert E. Scully
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                                                 Bailar, Stephen M. Carter, Gordon J.
                                                 Coburn, Kathleen A. Corbet, L. Kevin
                                                 Cox, Daniel O. Leemon, Stacey S. Rauch,
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                                        Attorneys for Defendant Gartner, Inc.




SO ORDERED this ___________________ day of ______, 2017



                                                   ___________________________

                                                   Honorable T.S. Ellis III
                                                   United States District Court Judge




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 5, 2017, I caused to be electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such filing to the all
registered participants.

                                                      By: s/ Elizabeth K. Tripodi________
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